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WILSON « SANDERSON, P.c.

ATTORNEYS AT LAW

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Me)

J. Luke
Sanderso
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Mr. Sanderson is admitted
to practice law in the State
of Tennessee, The U.S.
District Court for the
Western District, U.S.
District Court for the
Middle District, Bankruptcy
Court, Tennessee Court of
Appeals, and the Tennessee
Supreme Court.

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About Luke

Luke Sanderson is from Union City, Tennessee, and moved to Memphis to
attend the University of Memphis where he graduated with honors with a
Bachelor of Arts degree in English, and a Masters in Business
Administration with a concentration in Law, magna cum laude. He then
obtained his juris doctorate degree from the Cecil C. Humphreys School of
Law at the University of Memphis. While attending the University of
Memphis, he served on the executive board of the Zeta Rho Chapter of
the Alpha Tau Omega Fraternity. He was also a graduate of the Nexus
Mentoring Program as a protege.

Mr. Sanderson is admitted to practice law in the State of Tennessee, The
U.S. District Court for the Western and Middle Districts of Tennessee, U.S.
Bankruptcy Court, Tennessee Court of Appeals, and the Tennessee
Supreme Court.

Mr. Sanderson primarily focuses on prosecuting individual and class action
civil rights and consumer cases along with personal injury and mass tort
cases across the country. Mr. Sanderson also devotes a large portion of his
practice to collections and repossession work. Throughout his career, Mr.
Sanderson has collected tens of millions of dollars in damages and
collateral for his clients.

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In his free time, Mr. Sanderson enjoys hunting, fishing, and cheering on
the Memphis Tigers and Grizzlies at the FedEx Forum.

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ws.

Integrity, caring and trust are
the values that keep us together.

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